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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    ANITA JORGE, BETHELLINE                              §
    SCHAEFER, TRINA BARRY,                               §
    individually and on behalf of others                 §
    similarly situated,                                  §
                                                         §
           Plaintiffs,                                   § Civil Action No. 3:20-cv-02782-N
                                                         §
    v.                                                   §
                                                         §
    ATLANTIC HOUSING FOUNDATION,                         §
    INC. and MICHAEL NGUYEN,                             §
                                                         §
           Defendants.                                   §



         REPLY IN SUPPORT OF DEFENDANTS’ REQUEST FOR RULE 37(a)(5)(A)
                EXPENSES RELATED TO THEIR MOTION TO COMPEL


          Defendants Atlantic Housing Foundation, Inc. (“AHF”) and Michael Nguyen (collectively,

“Defendants”) file this Reply in support of their request for Rule 37(a)(5)(A) expenses, including

attorneys’ fees, related to their Motion to Compel (“MTC”) [ECF No. 173] (the “Rule 37(a)(5)(A)

Application”) and respectfully request that the Court award Defendants $27,924.00 as a reasonable

payment for Plaintiffs’ repeated and egregious discovery failings. 1

                                            I.       SUMMARY

          After granting Defendants’ MTC in its entirety, the Court gave Plaintiffs another

opportunity to respond to Defendants’ Rule 37(a)(5)(A) Application, but its mandate was clear:

(1) fully explain why Plaintiffs’ and counsel’s discovery deficiencies were “substantially




1
 Unless given another meaning in this Reply, capitalized terms correspond with the definitions provided in the MTC
and the Court’s Memorandum Opinion and Order, dated April 11, 2022 [ECF No. 190] (“Order”).



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justified,” or (2) fully explain whether other circumstances make an award of expenses unjust. See

Order at 19. Plaintiffs did neither. Instead, they concede that the persistent discovery deficiencies

were not substantially justified (Plaintiffs’ Response to Defendants’ Requests for Attorneys’ Fees

and Expenses [ECF No. 194] (“Response”) at 4), and simply offer unpersuasive reasons why they

believe an award of expenses would be unjust. No rationale justifies avoiding an award of expenses

for the wholesale failure to respond to Defendants’ January 2022 Requests, 2 failure to provide

initial disclosures for some of the Plaintiffs (for many months), failure to provide production

responses for some of the Plaintiffs (for many months), and failure to produce documents (for

many months). The Court should grant Defendants’ Rule 37(a)(5)(A) Application as requested

below.

      II.      GRANTING DEFENDANTS’ RULE 37(a)(5)(A) APPLICATION IS JUST

         Plaintiffs’ proffered reasons as to why an award of expenses would be unjust can be

summarized as follows:

         1. While not all, at least some Plaintiffs provided appropriate interrogatory verifications; 3

         2. While not all, at least some Plaintiffs provided disclosures under the Rule 26;

         3. Plaintiffs could not provide disclosures because they needed information from
            Defendants to provide their alleged unpaid hours and purported damages;

         4. Defendants did not specifically identify Plaintiffs’ missing documents; and




2
  The Parties agreed that Plaintiffs’ counsel would pay Defendants $3,700 as Rule 37(d) sanctions related only to
Plaintiffs’ failure to respond to Defendants’ Second Set of Interrogatories. The January 2022 Requests, however, also
included requests for admissions to which Plaintiffs also failed to respond with no justification or even explanation.
Moreover, the January 2022 Requests were prompted in the first place by Plaintiffs’ prior failure to adequately respond
to similar sets of discovery previously served. Plaintiffs actually argued in their Response to the MTC that the January
2022 requests were duplicative, thereby rationalizing their ignoring them even though they had not properly responded
to any similar requests.
3
 This reason largely relies on the contention that Defendants did not confer on the verification issue prior to filing the
MTC. The verification issue is the least of the concerns regarding Plaintiffs’ deficient responses and does not justify
a complete pass on Rule 37(a)(5)(A) expenses but is emblematic of them.



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         5. Defendants did not wait long enough to point out Plaintiffs’ failure to comply with the
            Court’s grant of AHF’s Emergency Motion for Protective Order [see ECF No. 170].

 Each of these “circumstances” are little more than excuses and none establish why an award of

expenses in Defendants’ favor would be unjust. See Vestas-Am. Wind Tech., Inc. v. Salazar, No.

6:19-CV-00076-H, 2021 WL 4896142, at *2 (N.D. Tex. Mar. 27, 2021) (“The burden of

demonstrating substantial justification or other circumstances making sanctions unjust rests with

the party whose failure is at issue.”).

         First, Plaintiffs’ arguments about their partial compliance with Rule 33’s verification

requirements and with the Rule 26 disclosures are not convincing. The fact that some Plaintiffs

provided proper interrogatory verifications and disclosures makes the other Plaintiffs’

noncompliance that much more unusual, especially considering they are all represented by the

same counsel. 4 Plaintiffs’ improper verification language is also minor compared to Plaintiffs’

other discovery failings and does not make an award of expenses unjust.

         Second, Plaintiffs’ attempt to shift blame for their conduct on Defendants by claiming that

they could not provide initial disclosures without first receiving certain documents from

Defendants that may support their alleged unpaid hours worked/damages claims (i.e., calendars

and emails) ignores several facts:

         1. Defendants have produced over 20,000 pages of documents in this case, the majority
            of which were produced by September 2021, five months before the MTC was filed;

         2. A computation of damages is just one part of the disclosures required under Rule
            26(a)(1), and Plaintiffs do not explain why they failed to address the remainder of the
            disclosure topics;

         3. Plaintiffs in an FLSA matter should have an idea of the alleged hours they worked that
            were not compensated, even if it was just an estimate upon which their alleged damages


4
 In total, there are fifteen Plaintiffs in this wage-hour collective action, with the recent dismissal of Tamara Canzater
[ECF No. 198]. Seven opted into the lawsuit before the Court granted conditional certification and the subsequent
eight opted-in after conditional certification (those eight opt-ins will be referred to as the “Later Opt-Ins”).



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             would be based; and

         4. Plaintiffs are not excused from complying with their discovery obligations, even if they
            believe Defendants have not, which is not the case. 5

         In short, Plaintiffs have not met their burden of establishing why an award of expenses

would be unjust when the Later Opt-Ins only served disclosures after being ordered to do so as a

result of Defendants’ MTC (not to mention, Defendants had requested the disclosures months

earlier). The is the exact scenario that an award of Rule 37 expenses was meant to address.

         Third, Plaintiffs argue that an award of expenses would be unjust because Defendants did

not specifically identify each and every document that Plaintiffs should produce. This circular

argument would require Defendants to know what relevant documents Plaintiffs possess,

something that only Plaintiffs and their counsel could possibly know. Even Plaintiffs’ own exhibits

to the Response reflect that Defendants’ counsel addressed Plaintiffs’ production deficiencies

several times, specifically identifying requests to which Plaintiffs objected and did not produce

documents. See Response App. 0007, 0011, 0016, 0018.

         In response to Defendants’ conference efforts, Plaintiffs’ counsel provided little to no

clarification on the production issues raised and even promised to produce documents that had yet

to be served before Defendants filed the MTC. For example, on November 6, 2021, Plaintiffs’

counsel promised to produce documents for Plaintiffs Jorge, Jenkins, and Austin, yet those

documents were not produced until after the Court issued the Order. See Response App. 0014.

This “circumstance” likewise fails to make an award of expenses unjust.

         Finally, Plaintiffs’ two-fold argument that (1) only eight days elapsed since the Court’s

Order granting AHF’s Motion for Protective Order [ECF No. 170] before Defendants filed the


5
 Plaintiffs also contend that Defendants’ disclosures are deficient. See Response at 3. This is the first time Plaintiffs
have ever even suggested this, but in any event, it has no impact on whether an award of expenses is appropriate
against Plaintiffs. Should Plaintiffs wish to confer regarding their contention, Defendants are available to do so.



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MTC, in part, to enforce compliance with that Order, and (2) Defendants’ counsel did not first

confer with Plaintiffs’ counsel on that point is unavailing. The first is a merit-based argument that

was rejected when the Court granted the MTC with respect to Plaintiffs’ noncompliance with the

Protective Order and is not a defense against an award of expenses. See Arch. Granite & Marble,

LLC v. Pental, No. 3:20-CV-295-L-BK, 2022 WL 1090262, at *6 (N.D. Tex. Apr. 11, 2022)

(“Under the circumstances presented here, the Court finds that an award of attorneys’ fees in

Defendant’s favor is appropriate. Plaintiffs’ only argument is that Defendant’s motion was

meritless, but that is plainly inaccurate given that he prevailed on nearly all of the issues

presented.”). The second fails because Defendants are not required to confer with Plaintiffs on

whether they have violated a Court order. See Vestas, 2021 WL 4896142, at *1 (“The parties’

conference on whether the Court’s order has been violated is irrelevant to the Court’s authority to

enforce its order and impose sanctions for their violation.”).

       Plaintiffs failed to satisfy their burden to establish sufficient circumstances making an

award of expenses in Defendants’ favor unjust.

     III.    DEFENDANTS’ SHOULD RECOVER REASONABLE EXPENSES FOR
            ADDITIONAL TIME SPENT AFTER FILING THE INITIAL MTC

       As Plaintiffs have established no substantial justification or other circumstances making an

award of expenses unjust, Defendants respectfully request that the Court order Plaintiffs and/or

their counsel to pay Defendants’ reasonable expenses. See Fed. R. Civ. P. 37(a)(5)(A).

       In the Rule 37(a)(5)(A) Application, Defendants requested at least $4,700 for fees incurred

to file the MTC and the Appendix in support. That figure was based on drafting and researching

during a 5-day period prior to (but not including) the date of filing the MTC.

When considering Defendants’ extensive efforts related to the MTC, an award of $27,924.00 is




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reasonable. 6 Defendants’ counsel: (1) conferred about the various subjects of the MTC; (2)

reviewed and analyzed Plaintiffs’ Response to the MTC [ECF No. 182]; (3) drafted Defendants’

Reply Brief in support of the MTC [ECF No. 188]; (4) performed the additional work of parsing

through the incomplete supplemental discovery responses provided by Plaintiffs 7; (5) reviewed

and analyzed Plaintiffs’ Response to Defendants’ Requests for Attorneys’ Fees and Expenses for

Defendants’ Motion to Compel [ECF No. 194]; and (6) conducted research regarding this filing

and drafted this brief, along with the corresponding Declaration, and Appendix, and preparing the

spreadsheet of attorneys’ fees attached to the Declaration. 8 See Declaration of Molly Jones,

attached in the supporting Appendix. Notably, Plaintiffs have yet to fully comply with the Order,

and Defendants’ counsel are continuing to devote time to evaluate and review Plaintiffs’ deficient

discovery. Jones Decl. ¶ 10.

                                      IV.      REQUEST FOR RELIEF

         Plaintiffs are 15 individuals who claim to be owed minimum wage and overtime under the

FLSA for supposedly having worked off-the-clock; until only recently, however, they have been

unable to explain or provide information about the alleged unpaid hours worked, the people who

have knowledge of such alleged unpaid work, or how it is that they intend to present their claimed

off-the-clock work. It was only through the MTC that most Plaintiffs finally attempted to quantify


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 See, e.g., Appel v. Wolf, No. 1:21-cv-522-RP, 2021 WL 8442029, at *4 (W.D. Tex. Sept. 17, 2021) (finding an award
of almost $25,000.00 reasonable following party’s successful motion to quash).
7
  Given the incomplete and piecemeal nature by which Plaintiffs’ counsel served discovery and supplemental
discovery, extensive time and effort was required by defense counsel to determine whether Plaintiffs had complied
with their discovery obligations and the Court’s Order. See Jones Decl. ¶ 10.
8
  See Mercury Luggage Man. Co. v. Domain Protection, LLC, No. 3:19-cv-1939-M-BN, 2022 WL 254351, at *2
(N.D. Tex. Jan. 27, 2022) (Hon. David L. Horan) (“Rule 37(a)(5) can include ‘fees on fees’ for the time expended in
filing a motion for attorneys’ fees.”); see also Jones Decl. ¶¶ 8-13. This amount is the “lodestar,” which is the “number
of hours reasonably expended multiplied by the prevailing hourly rate in the community for similar work.” See also
Mercury, 2022 WL 254351, at *4. The lodestar is presumed reasonable. Id. at *5. The hourly rates charged by
Defendants, ranging between $165 and $540, are reasonable. See id. at *6 (finding an hourly rate of $455 to be
reasonable).



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their claims for the first time—more than 2 ½ years into this litigation. For these reasons, and those

identified in the MTC, Defendants respectfully request that the Court grant Defendants’ Rule

37(a)(5)(A) Application; award Defendants their costs and attorneys’ fees in the amount of

$27,924.00, jointly and severally against Plaintiffs and Plaintiffs’ counsel, within 30 days of the

Court’s order; and grant all additional relief that it deems just and proper.


                                                   Respectfully submitted,

                                                   /s/Andrew M. Gould
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                                                   ATTORNEYS FOR DEFENDANTS




                                 CERTIFICATE OF SERVICE

       On May 23, 2022, a true and correct copy of the foregoing instrument was filed with the
clerk of court for the U.S. District Court, Northern District of Texas. I hereby certify that the
document was served on all counsel and/or pro se parties of record by a manner authorized by the
Federal Rules of Civil Procedure 5(b)(2).


                                                   /s/Andrew M. Gould
                                                   Andrew M. Gould




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